             Case 2:07-cr-00248-WBS Document 1163 Filed 10/12/12 Page 1 of 3


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 4

 5
     Attorney for Defendant
     SOPHIA SANCHEZ
 6
                               IN THE UNITED STATES DISTRICT COURT
 7
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9

     UNITED STATES OF AMERICA,                      )       CR NO. S-07-0248-24 WBS
10
                                                    )
                                                    )
11          Plaintiff,                              )       ORDER CONTINUING SENTENCING
                                                    )
12
     v.                                             )       Date: October 22, 2012
                                                    )       Time: 9:30 a.m.
13
     SOPHIA SANCHEZ,                                )       Judge: Hon. William B. Shubb
                                                    )
14
                                                    )
            Defendant.                              )
15
                                                    )
                                                    )
16
                                                    )
17
            IT IS HEREBY stipulated between the United States of America through its undersigned
18
     counsel, William Wong, Assistant United States Attorney, together with counsel for defendant
19
     Sophia Sanchez, John R. Manning, Esq., that the sentencing presently set for October 15, 2012
20
     be continued to October 22, 2012 at 9:30 a.m., thus vacating the presently set sentencing date.
21
     The continuance is needed to allow the parties additional time to address matters concerning
22
     defendant’s sentencing.
23

24

25

26   Dated: October 11, 2012                                         /s/ John R. Manning
                                                                    JOHN R. MANNING
27                                                                  Attorney for defendant
28
                                                                    Sophia Sanchez



                                                        1
            Case 2:07-cr-00248-WBS Document 1163 Filed 10/12/12 Page 2 of 3


                                                    Benjamin B. Wagner
 1
                                                    United States Attorney
 2
     Dated: October 11, 2012                        /s/ William Wong
 3                                                  WILLIAM WONG
                                                    Assistant United States Attorney
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                              IN THE UNITED STATES DISTRICT COURT
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                         FOR THE EASTERN DISTRICT OF CALIFORNIA
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 9
     UNITED STATES OF AMERICA,                   ) CR NO. S-07-0248 WBS
10                                               )
                                                 )
            Plaintiff,                           ) ORDER CONTINUING SENTENCING
11
                                                 )
12   v.                                          )
                                                 )
13   SOPHIA SANCHEZ,                             )
                                                 )
14                                               )
            Defendant.                           )
15                                               )
                                                 )
16                                               )

17

18
            GOOD CAUSE APPEARING, it is hereby ordered that the date for the judgment and
19
     sentence of defendant Sophia Sanchez be continued from October 15, 2012 to October 22, 2012
20

21
     at 9:30 a.m.

22

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24
     DATED: October 11, 2012

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